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RESMAE LIQUIDATION PROPERTIES, LLC

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

CV14 DOO33AK KSC

RESMAE LIQUIDATION ) CIVIL NO.
PROPERTIES, LLC, )
) COMPLAINT; EXHIBITS “1” —
Plaintiff, ) “2”; SUMMONS IN A CIVIL
) ACTION
VS. )
)
LEIGH MATSUYOSHI,; JOHN )
DOES 1-50; JANE DOES 1-50; )
DOE PARTNERSHIPS 1-50; DOE)
CORPORATIONS 1-50 and DOE _)
GOVERNMENTAL UNITS 1-50, _ )
)
Defendants. )
)

COMPLAINT

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PARTIES

1. Plaintiff RESMAE LIQUIDATION PROPERTIES LLC (hereinafter
“Plaintiff’) is a corporation organized and existing under the laws of the United
States of America.

2. Upon information and belief, Defendant LEIGH MATSUYOSHI
(hereinafter “Defendant Leigh”), is and was at all times relevant hereto a resident
of the County of Kauai and resides at the property located at 2888 Hoolako Street,
Lihue, HI 96766 (TMK: (4) 3-6-024-037) (hereinafter “the Property”).

3. Defendants John and Jane Does are persons who have or may have
lien rights or other interests in the Property and whose names, identities and

capacities are presently unknown to Plaintiff and its attorney.

FACTS

4, On or about March 26, 2007, Defendant Leigh, for value received,
duly made, executed and delivered to Plaintiff, a promissory note (“Note”) in the
amount of $500,000.00.

5. For the purpose of securing payment on the Note, Defendant Leigh
duly made, executed and delivered to Plaintiff, a mortgage (“Mortgage”)

encumbering the Property. The Mortgage was recorded on March 26, 2007, in the
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Bureau of Conveyances of the State of Hawaii as Document No. 2007-057187.
The mortgage is hereafter referred to as the “Mortgage.”

6. Under the Mortgage and Note, Defendant Leigh is obligated to make
scheduled payments of principal and/or interest.

7. Defendant Leigh failed to timely make payments required by the

terms of the Note and such failure constitutes a default under the repayment terms

of the Note and Mortgage.
8. As a result, Plaintiff conducted a non-judicial foreclosure sale of the
Property.

9. Attached hereto as Exhibit “1” is a true and correct copy of the
Mortgagee’s Affidavit of Foreclosure Under Power of Sale, recorded in the Bureau
of Conveyances of the State of Hawaii (hereinafter “the Bureau”) on November 17,
2008, as Document No. 2008-174905.

10. Plaintiff was the highest bidder at the auction with a bid of FOUR
HUNDRED SIXTEEN THOUSAND AND NINE HUNDRED AND 20/100
DOLLARS ($416,900.20).

11. Attached hereto as Exhibit “2” is a true and correct copy of the
Quitclaim Deed transferring title of the Property to Plaintiff recorded in the Bureau

on January 22, 2009, as Document No. 2009-008399.
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12. Upon information and belief Defendant Leigh is still remaining on the
Property.

13. Inorder to have Defendant Leigh removed from the Property, Plaintiff
filed an Ejectment Action in the Circuit Court of the Fifth Circuit, State of Hawaii,
on February 3, 2009, Civil No. 09-1-0030.

14. In response to Plaintiff's Eject Action, Defendant Leigh filed an
Answer on March 30, 2009, wherein she asserted, among other things, the Federal
Truth-In-Lending Act (hereinafter “TILA”) as a defense.

15. Plaintiff then submitted interrogatories and request for admissions. to
Defendant Leigh regarding her defenses

16. Inher response, Defendant Leigh stated that, among other things, the
Note was void under TILA, that Plaintiff violated the Real Estate Settlement

Procedures Act (hereinafter “RESPA”).

JURISDICTION AND VENUE

17. This Court has jurisdiction under 28 U.S.C. § 1331 as there issues
pertaining to the laws and treatises of the United States.

18. Venue in the District of Hawaii is proper under 28 U.S.C. § 1391(b)
because a substantial part of the property that is the subject of the action is situated

in the District of Hawaii.
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COUNT I: DECLARATORY JUDGMENT

19. Paragraphs 1-18 are incorporated herein by reference.

20. Plaintiff seeks a declaratory judgment pursuant to 28 U.S.C. § 2201.

21. An actual controversy exists with regard to Plaintiff's non-judicial
foreclosure sale.

22. Plaintiff's non-judicial foreclosure sale fully complied with the
requirements of Sections 667-5 through 667-10 of the Hawaii Revised Statutes
(hereinafter “HRS”).

23. Defendant Leigh has raised TILA and RESPA defenses and claims

that the underlying loan transaction is void.

COUNT Il: EJECTMENT

24. Paragraphs 1-23 are incorporated by reference.
25. Pursuant to HRS § 603-36, Plaintiff seeks a Writ of Ejectment against
Defendant Leigh and all known parties claiming under by and through said

Defendant Leigh.

COUNT I: FORECLOSURE

26. Paragraphs 1-25 are incorporated by reference.
27. There is principal, as well as interest, late charges and other advances

secured by the Note and Mortgage, past due and owing.
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28. That by reason of the facts above set forth and alleged, Plaintiff is
entitled to the foreclosure of its Mortgage and to the sale of all of the Property.

29. The Mortgage provides that in the event of foreclosure, Plaintiff may
be awarded all sums secured by said the Mortgage, including reasonable attorney’s
fees, all costs and expenses provided for in the Note, and any advances made
necessary or advisable or sustained by Plaintiff for the benefit or protection of the
Property or in connection therewith.

THIS LAW FIRM IS A DEBT COLLECTOR ATTEMPTING TO
COLLECT A DEBT. ANY INFORMATION WE OBTAIN WILL BE USED
FOR THAT PURPOSE. IF YOU HAVE PREVIOUSLY RECEIVED A
DISCHARGE OF THE DEBT FROM A BANKRUPTCY COURT, THIS
COMPLAINT IS NOT AND SHOULD NOT IN ANY WAY BE
CONSTRUED TO BE AN ATTEMPT TO COLLECT A DEBT BUT ONLY

ENFORCEMENT OF LIEN RIGHTS AGAINST THE PROPERTY.

WHEREFORE PLAINTIFF PRAYS AS FOLLOWS:

A. — That process of this Honorable Court issue commanding all the above-
named defendants to appear and answer the allegations Complaint as provided by

law;
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B. That a judgment issue declaring the rights of the parties herein with
regard to Count I and finding that the foreclosure referred to therein was conducted
in accord with HRS §§ 667-5 through 667-10.

C. That a judgment for possession pursuant to Count II issue in favor of
Plaintiff thereby directing Defendant Leigh to vacate the Property.

D. With regard to Count III, that upon hearing being had herein, there be
ascertained a total amount due to the time of judgment under the Note and
Mortgage, including principal, interest, advances, costs, expenses, and attorneys’
fees, and that this Court make and enter its judgment as follows:

1. That there is due and owing to Plaintiff pursuant to the terms of the
Note and Mortgage, a certain sum of money, and that such sum of
money, including all advances, costs, expenses, and attorneys’ fees, be
declared to be a valid judgment against Defendant Leigh (“Money
Judgment”) and a lien upon the Property; and that the Court fix and
determine just and reasonable attorneys fees for Plaintiff's attorney
herein;

2. Appointing a Commissioner to take possession of the Property and
directing that he sell the same for cash in lawful money of the United
States in the manner provided by law and the orders of this Court,

upon the confirmation of said sale by this Court, that the
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Commissioner be authorized and directed to make and deliver to the
purchaser or purchasers such instruments of conveyance of the
Property as may be appropriate in the premises;

3. Authorizing and directing such Commissioner, after the payment of
all necessary expenses of such sale, to make application of all the
proceeds thereof so far as the same may be necessary to the payment
of the amounts found due and owing to: First, to Plaintiff, under the
Note and Mortgage, including the aforesaid advances, costs, expenses,
and attorneys’ fees toward satisfaction of the Money Judgment and
the balance if any, as determined by this Court.

4. Authorizing Plaintiff to be a purchaser at any sale made as aforesaid,
without the requirement of any down payment at that sale;

5. That if the proceeds of the sale shall be insufficient to pay the Money
Judgment and it shall appear that a deficiency exists, directing a
judgment to be entered for such deficiency against Defendant Leigh
and that Plaintiff have execution therefore, unless the debt is
discharged or otherwise barred by bankruptcy or other applicable law;
and

6. That upon the foreclosure sale herein prayed for, the parties herein

named as defendants and all persons claiming any interest in said
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Property by, through or under said parties, be forever barred and
foreclosed of and from any and all right, title, and interest and claims
at law or in equity in and to said Property.
E. That Plaintiff shall have such further and other relief in the premises
as may be just and equitable.

DATED: Honolulu, Hawaii, January 14, 2011.

Of

PETER T. STONE
CHARLES R. PRATHER

Attorneys for Plaintiff
RESMAE LIQUIDATION
PROPERTIES, LLC
